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              In the United States Court of Federal Claims
                             Nos. 06-245T, 06-246T, and 06-247T
                                     (CONSOLIDATED)

                                    (Filed: September 19, 2008)

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MURFAM FARMS, LLC,                                   *
By and Through Wendell H. Murphy, Jr.,               *
A Partner Other than Tax Matters Partner,            *
                                                     *
PSM FARMS, LLC,                                      *
By and Through Stratton K. Murphy,                   *
a Partner Other than Tax Matters Partner,            *
                                                     *
MURPHY PORK PARTNERS, LLC,                           *
By and Through Wendell H. Murphy, Jr.,               *
A Partner Other than Tax Matters Partner,            *
                                                     *
                      Plaintiffs,                    *
                                                     *
       v.                                            *
                                                     *
THE UNITED STATES,                                   *
                                                     *
                      Defendant.                     *
                                                     *
****************************************             *


                                            OPINION

      Before the Court are four motions in limine, one by Plaintiffs and three by the
Government, to exclude all or part of several expert witness reports and testimony. The motions
are:

      1. Plaintiffs’ Motion to Exclude Government Expert Dr. David LaRue (“Plaintiffs’ LaRue
Motion”)

      2. The Government’s Motion to Partially Exclude the Expert Report and Testimony of
Dr. Donald Chance (“The Government’s Chance Motion”)

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       3. The Government’s Motion to Exclude the Expert Testimony of Mr. Melvin Jager
(“The Government’s Jager Motion”)

       4. The Government’s Motion to Exclude the Expert Report and Opinions of Mr. Stuart
Smith (“The Government’s Smith Motion”)

      For the following reasons, Plaintiffs’ LaRue Motion is DENIED, the Government’s
Chance Motion is DENIED, the Government’s Jager Motion is DENIED, and the Government’s
Smith Motion is GRANTED in part and DENIED in part.

I.     Law Applicable to Motions to Exclude Expert Witnesses and Testimony

       Federal Rule of Evidence 702 (“Rule 702”), which governs the admissibility of expert
testimony, states in full:

       If scientific, technical, or other specialized knowledge will assist the trier of fact to
       understand the evidence or to determine a fact in issue, a witness qualified as an
       expert by knowledge, skill, experience, training, or education, may testify thereto in
       the form of an opinion or otherwise, if (1) the testimony is based upon sufficient facts
       or data, (2) the testimony is the product of reliable principles and methods, and (3)
       the witness has applied the principles and methods reliably to the facts of the case.

In general, Rule 702 is viewed as requiring the trial judge to ensure that proffered expert
testimony is both reliable and relevant. Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147, 119
S. Ct. 1167, 1174 (1999) (citing Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589-90,
113 S. Ct. 2786, 2795, (1993)); see also Sparton Corp. v. United States, 77 Fed. Cl. 1, 7 (2008).
Under Daubert and Kumho Tire, reliable expert testimony is grounded in the methods and
procedures of scientific, technical, or specialized knowledge in the expert’s discipline, and is not
merely subjective belief or unsupported speculation. Daubert, 509 U.S. at 589-90, 113 S. Ct. at
2795; Kuhmo Tire, 526 U.S. at 157-58, 119 S. Ct. at 1178-79. Relevant expert testimony is that
which will “assist the trier of fact to understand the evidence or to determine a fact in issue.”
Fed. R. Evid. 702; Daubert, 509 U.S. at 591, 113 S. Ct. at 2795. To help assess the relevance
and reliability of proffered expert testimony, Daubert lists five nonexclusive factors as part of a
“flexible” test: (1) whether the methodology can and has been tested; (2) whether the
methodology is subject to peer review; (3) the potential rate of error; (4) the existence and
maintenance of standards governing the methodology; and (5) general acceptance of the
methodology. Id. at 593-94, 113 S. Ct. at 2796-97; see also Liquid Dynamics Corp. v. Vaughan
Co., 449 F.3d 1209, 1221 (Fed. Cir. 2006) (Daubert factors can be used to measure the reliability
of an expert’s principles and methods, but the weight to be given conclusions resulting from the
principles and methods is a separate consideration). The factors that are helpful toward
informing a court’s gatekeeping decision will vary case-by-case depending on the type of expert
testimony proffered. Kumho, 526 U.S. at 141-42, 119 S. Ct. at 1171. Although under Daubert a
judge is required to act as a gatekeeper to prevent unreliable or irrelevant evidence from being


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admitted, the trial judge has great discretion in deciding what expert testimony to allow. Kumho,
526 U.S. at 147, 119 S. Ct. at 1174.

        One type of expert testimony courts are consistently reluctant to admit is an expert’s
opinions of law. See, e.g., Mendenhall v. Cedarapids, Inc., 5 F.3d 1557, 1574 (Fed. Cir. 1993);
Sparton Corp., 77 Fed. Cl. at 8-9; see also Burkhart v. Washington Metro. Area Transit Auth.,
112 F.3d 1207, 1213 (D.C. Cir. 1997) (“an expert may offer his opinion as to facts that, if found,
would support a conclusion that the legal standard at issue was satisfied, but he may not testify as
to whether the legal standard has been satisfied”); United States v. Duncan, 42 F.3d 97, 101 (2d
Cir. 1994); Naeem v. McKesson Drug Co., 444 F.3d 593, 611-12 (7th Cir. 2006).1 As the D.C.
Circuit once aptly noted, “[e]ach courtroom comes equipped with a ‘legal expert,’ called a
judge.” Burkhart, 112 F.3d at 1213.

         Although Federal Rule of Evidence 704 (“Rule 704”) was promulgated to clarify that
expert testimony on an ultimate issue in a case is permissible, the Rule was not intended to allow
an expert to advise the court on legal issues or outcomes determined purely by law. Sparton
Corp., 77 Fed.Cl. at 8 (citing Fed. R. Evid. 704, Advisory Committee Notes, 1972 Proposed
Rules, reprinted in Thompson/West, Federal Judicial Procedure and Rules at 436 (2005)). For
example, patent law experts are occasionally called upon in bench trials to inform a judge on the
intricacies of patent law. See Mendenhall, 5 F.3d at 1574 n.17. And, experts have been
permitted to testify regarding the proper interpretation of contract terms, an issue of law, when
the meaning depends on trade practice. See, e.g., Kona Tech. Corp. v. S. Pac. Transp. Co., 225
F.3d 595, 611 (5th Cir. 2000) (expert testimony properly admitted to interpret contract provisions
having a specialized meaning in the railroad industry); WH Smith Hotel Servs, Inc. v. Wendy’s
Int’l, Inc., 25 F.3d 422, 429 (7th Cir. 1994) (no error in admitting expert testimony regarding
customary and usual meaning of rent provisions in the commercial real estate industry); accord,
Metric Constr. Inc. v. Nat’l Aeornautics and Space Admin, 169 F.3d 747, 751-52 (Fed. Cir.
1999) (citing, with approval, Western States Constr. Co. v. United States, 26 Cl.Ct. 818, 826
(1992), in which evidence of trade practice and usage in industry was relied on in contract
interpretation). However, unlike a general summarization of the law or an explanation of custom
or trade practice, an expert’s legal analysis or opinion on an ultimate legal issue is not generally
considered helpful evidence. Avia Group Intern., Inc. v. L.A. Gear California, Inc., 853 F.2d
1557, 1564 (Fed. Cir. 1988); Endress + Hauser, Inc. v. Hawk Measurement Sys. Pty. Ltd., 122


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          The principle that expert testimony on pure issues of law is unhelpful to the finder of
fact is universal among the circuits. See, e.g., Estate of Sowell v. United States, 198 F.3d 169,
171-72 (5th Cir. 1999); Nieves-Villanueva v. Soto-Rivera, 133 F.3d 92, 100 (1st Cir. 1997);
Peterson v. City of Plymouth, 60 F.3d 469, 475 (8th Cir. 1995); United States v. Simpson, 7 F.3d
186, 188 (10th Cir. 1993); Aguilar v. Int’l Longshoremen’s Union Local No. 10, 966 F.2d 443,
447 (9th Cir. 1992); Marx & Co. v. Diners’ Club, Inc., 550 F.2d 505, 509-10 (3d Cir. 1991);
Montgomery v. Aetna Cas. & Sur. Co., 898 F.2d 1537, 1541 (11th Cir. 1990); United States v.
Curtis, 782 F.2d 593, 599 (6th Cir. 1986); Adalman v. Baker, Watts & Co., 807 F.2d 359, 365-
68 (4th Cir. 1986).

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F.3d 1040, 1042 (Fed. Cir. 1997) (“[T]his court has on numerous occasions noted the
impropriety of patent lawyers testifying as expert witnesses and giving their opinion regarding
the proper interpretation of a claim as a matter of law, the ultimate issue for the court to
decide.”); Sparton Corp, 77 Fed. Cl. at 9.

       Thus, for each of the four expert reports, the Court must determine the extent to which
each expert will testify on a purely legal issue or provide purely legal analysis. Expert reports, or
portions of reports, which opine on or provide analysis of purely legal issues will be excluded.
Where the reports do not merely opine on legal issues, the Court’s function is only to ensure that
they will help the trier of fact, and that they are both reliable and relevant. Daubert, 509 U.S. at
589-91, 113 S. Ct. at 2795. Beyond that, it is the province of the parties themselves to point out
inconsistencies, contest erroneous conclusions, and demonstrate any insufficient factual support
through cross-examination. Id., 509 U.S. at 596, 113 S. Ct. at 2798.

II.    Plaintiffs’ LaRue Motion

         Government expert Dr. David LaRue offers his opinion primarily on whether the
transactions at issue in this case were adequately disclosed on partnership tax returns, and
whether the tax returns would appear to a tax practitioner to have been filed in a manner designed
to reduce the risk of audit by the IRS. Pls.’ LaRue Mot. at 3. Plaintiffs make several pertinent
arguments for why Dr. LaRue’s testimony should be excluded: (1) Dr. LaRue is unqualified to
testify on IRS audit procedures; (2) Dr. LaRue opines about legal issues; and (3) Dr. LaRue’s
testimony is irrelevant because it is based only on the tax preparers’ statements, not on the
taxpayers’ subjective intent. Id. at 5.

         First, the Court finds that Dr. LaRue is qualified to present the opinions in his report. Dr.
LaRue has 30 years of experience academically in the tax field, including creating and teaching
numerous tax analysis and reporting courses to both students and tax professionals. Def.’s Opp’n
to Pls.’ LaRue Mot. at 12-19. More importantly, Dr. LaRue’s report does not opine on what the
actual IRS audit procedures are – some aspects of those procedures are highly guarded inside the
IRS. Id. at 9; Pls.’ Reply to Pls.’ LaRue Mot. at 10-11. Rather, Dr. LaRue is actually opining on
whether a tax professional would recognize a particular tax filing as having been prepared with
an intent to reduce the chance of audit.2 Def.’s Opp’n to Pls.’ LaRue Mot. at 10-11, Ex. 1 ¶ 23.4.


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         Plaintiffs argue that characterizing Dr. LaRue’s testimony as an opinion on what a tax
professional would perceive is tantamount to a rewrite of Dr. LaRue’s report. Plaintiffs state that
Dr. LaRue’s report includes 36 instances of Dr. LaRue unconditionally opining that the risk of
detection and audit of Plaintiffs’ tax returns would have increased if other information had been
disclosed. Upon reviewing Dr. LaRue’s report, the Court disagrees. Generally, Dr. LaRue
qualified his opinions in this regard with the phrase “it would be reasonable to conclude that ...,”
rather than “I conclude that ...,” giving the impression that Dr. LaRue was generalizing his
conclusions to phrase them as conclusions reasonable tax professionals might reach. See, e.g.,
Pls.’ LaRue Mot. at Ex. 3 p. 130.

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Given his experience, Dr. LaRue is qualified to opine on that issue.

        The Court also does not find that Dr. LaRue makes an improper legal argument.
Although Dr. LaRue examines the extent to which the COBRA transactions were disclosed on
Plaintiffs’ tax returns, he does not do so in regard to whether it complied with any Treasury
Regulation or other legal requirement, but rather based on his own experience in analyzing tax
returns and the instructions on tax return forms. Id. at 29-30. In fact, the Regulation Plaintiffs
accuse Dr. LaRue of analyzing, 26 U.S.C. § 6662(d)(2)(B)(ii), is not cited in Dr. LaRue’s report.
Def.’s Opp’n to Pls.’ LaRue Mot. at 29, Ex. 1 at ¶ 37-38. Dr. LaRue’s report appears to simply
examine Plaintiffs’ tax returns and opine on their design from the perspective of a reasonable tax
professional.

        Plaintiffs’ relevance argument – that Dr. LaRue’s opinion is irrelevant because it is not
based entirely on evidence of the taxpayers’ own intent – is likewise unpersuasive. See Pls.’
LaRue Mot. at 11. The Government is proffering Dr. LaRue’s conclusions to support the
negligence penalty asserted against Plaintiffs and to undermine Plaintiffs’ good-faith defense.
Def.’s Reply to Pls.’ LaRue Mot. at 32. Determining whether a negligence penalty or good-faith
defense applies in this case requires a fact-intensive inquiry into the reporting of the taxes by the
tax preparers, the level of care exhibited by the taxpayers, and whether that level of care was
reasonable under the circumstances. See Treas. Reg. § 1.6664-4 (setting forth factors for, inter
alia, assessing the reasonableness of reliance on professional tax advice). It follows that
taxpayers’ subjective intent is not the only evidence relevant to a defense to negligence penalties.
The manner in which the taxes were discussed and reported by Ernst & Young and Proskauer
Rose, examined in several portions of Dr. LaRue’s expert report, is relevant in this case.

       Therefore, Plaintiffs’ Motion to Exclude Government Expert David LaRue is DENIED.

III.   The Government’s Chance Motion

        The Government moves to exclude the expert testimony of Dr. Donald Chance, a finance
professor specializing in derivatives and risk management, on the basis that Dr. Chance’s
methods are unreliable. Def.’s Chance Mot. at 2. Dr. Chance opines in his report that the
transactions at issue in this case had a reasonable probability of profit. Id., Ex. 1 at 3. The
Government seeks to exclude this testimony on the basis that Dr. Chance’s method used for
making that conclusion is unreliable because it compares the probability of profit from the
transactions at issue in this case, involving non-publicly traded options, with similar transactions
involving publicly traded options. Id. at 1-2. The Government also contends that Dr. Chance’s
testimony fails to meet any of the Daubert reliability factors. Id. at 10-11.

        The Court finds that the Government’s arguments do not address the reliability of Dr.
Chance’s testimony under Rule 702, so much as attack the weight to be given his conclusions.
First, Dr. Chance’s discussion of profit probabilities for publicly traded and non-publicly traded
options appears to be nothing more than a simple comparison, to which the Daubert factors


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provide little assistance. The Government’s primary complaint about Dr. Chance’s testimony is
that the COBRA options were not priced properly in comparison to their likely profit yield
because they were not traded in the open market, making the correlation to transactions involving
publicly traded options less analogous. Id. at 16-17. This is not an argument about reliability,
but an attack on the weight and meaning to be ascribed Dr. Chance’s conclusions. See Liquid
Dynamics, 449 F.3d at 1221. The Government can make its point at trial. The United States’
Motion to Partially Exclude the Expert Report and Testimony of Don M. Chance is therefore
DENIED.3

IV.    The Government’s Jager Motion

        The Government essentially presents three arguments for the exclusion of Mr. Melvin
Jager’s report: (1) that it is untimely, (2) that it is unhelpful to the Court because it is nothing
more than a legal argument, and (3) that it is unhelpful to the Court because it is not based on
sufficient facts. Plaintiffs present the report of Mr. Jager, an attorney for a firm which provides,
among other things, IP valuation services, to opine on whether an ordinary person familiar with
intellectual property would recognize the COBRA scheme as having the characteristics of
intellectual property. If so, it would imply that the parties considered the fees paid to the
promoters as a “royalty,” which would impact how the fees are considered in an economic
substance analysis. Pls.’ Opp’n to Def.’s Jager Mot. at 1-2, 15.

         The Government first argues that Mr. Jager’s report was untimely because it was
submitted as a rebuttal report but addresses a new issue which the Government’s experts had not
opined on. Def.’s Jager Mot. at 10. Though the Government may be correct that its experts did
not discuss trade secrets, its experts did opine on how the promoters’ fees should be considered
(i.e., as a professional fee that should be included in calculations deriving the expected rate of
return on the transactions). See Pls.’ Opp’n to Def.’s Jager Mot. at 4 (discussing Kolbe and
DeRosa reports). Because Mr. Jager’s report also addresses how the promoter’s fees should be
considered, the Court finds that Mr. Jager’s report is a rebuttal and, therefore, is timely under
RCFC 26(a)(2).

       The Court also disagrees that Mr. Jager’s report presents improper legal analysis. Mr.
Jager does not purport to opine on whether the COBRA scheme is, in fact, a trade secret. Rather,


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         In their opposition to the Government’s Chance Motion, Plaintiffs state that the
Declaration of Dr. A. Lawrence Kolbe, which the Government attached to its motion, is nothing
more than an untimely, supplemental rebuttal expert report and must therefore be “disallowed.”
Pls.’ Opp’n at 3. To the extent that Plaintiffs intended this to be a request for an order striking
the Declaration, the Court cannot grant it at this time. Under Rule 7(b) of the Rules of the Court
of Federal Claims (“RCFC”), “[a]n application to the court for an order shall be by motion.” A
party cannot request independent relief in a response brief. If Plaintiffs wish to have the
Declaration of Dr. Kolbe stricken, they should file a motion requesting that relief and stating the
grounds for their request.

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Mr. Jager offers his opinion that, because the scheme has characteristics typically exhibited by a
trade secret, it would be customary to pay a royalty for participation in the scheme. See Pls.’
Opp’n to Def.’s Jager Mot. at 10-11. As experts can be permitted to testify regarding industry
custom for contract interpretation issues, the Court finds that testimony regarding whether it
would be customary to pay a royalty for participation in a program which exhibits certain
characteristics of intellectual property would also be permissible. See Metric Constr., 169 F.3d
at 751-52.

        Finally, the Government argues that Mr. Jager was so uninformed about the
Government’s initial expert reports that his rebuttal report must be found unreliable. Def.’s Jager
Mot. at 15 (citing Mr. Jager’s deposition testimony that he could not provide more than a general
description of the COBRA transaction). Although Mr. Jager may not be familiar with the details
of this case, upon review of Mr. Jager’s report, the Court finds that Mr. Jager was presented with
a sufficient minimum of information to support the conclusions he made. See, e.g., Def.’s Jager
Mot. at Ex. 1 (Jager Report) pp. 11-13. The Government may explore the extent to which Mr.
Jager lacks a full awareness of the transaction on cross-examination. The Government’s Motion
to Exclude the Expert Testimony of Melvin F. Jager is therefore DENIED.

V.     The Government’s Smith Motion

        Plaintiffs present Mr. Stuart Smith, a tax attorney, to opine on whether the Proskauer
Rose opinions were of the type, character, and quality upon which a taxpayer could reasonably
rely. Pls.’ Opp’n to Def.’s Smith Mot. at Ex. D p. 2. The Government makes two primary
arguments for the exclusion of Mr. Smith’s testimony: (1) that, because Mr. Smith relies on the
wrong law (i.e., certain Treasury Circular 230 and not Treasury Regulation 1.6664-4), the
testimony contained in Mr. Smith’s report is unreliable, and (2) that Mr. Smith presents nothing
more than legal analysis. Def.’s Smith Mot. at 9, 17.

        The Government first asserts that Mr. Smith’s analysis is unreliable because the only
standard by which to properly gauge a reasonable cause defense to accuracy-related penalties is
I.R.C. § 6664(c) and the Treasury Regulations promulgated under that section. Def.’s Smith
Mot. at 17. In response, Plaintiffs assert that Mr. Smith’s report does not state that Treasury
Circular 230 is the correct standard by which to consider a reasonable cause defense. Instead,
Plaintiffs assert, “Mr. Smith references the Circular 230 standards only in his evaluation of the
quality of the tax opinions to demonstrate that such opinions were ‘objectively reasonable.’” Pls.’
Opp’n to Def.’s Smith Mot. at 8.

        The Court does not find that Mr. Smith’s analysis is unreliable under Rule 702. The
Court notes that Mr. Smith’s report states, quite unmistakably, that “it is plainly not necessary for
an opinion to satisfy the particular requirements of this Circular for a taxpayer to act reasonably
in relying on it.” Pls.’ Opp’n to Def.’s Smith Mot. at Ex. D p. 7. Moreover, it seems reasonable
to the Court that a tax professional might look to a Treasury Circular for at least general guidance
in determining the level of quality necessary for a tax opinion. As such, the Court agrees with


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Plaintiffs that Mr. Smith’s discussion of Treasury Circular 230 does not render his report
“unreliable” under Rule 702. See Pls.’ Opp’n to Def.’s Smith Mot. at 7-9.

        The Government also argues that Mr. Smith’s report simply presents an argument on an
issue of law to be decided by the Court. As Plaintiffs point out, however, Mr. Smith’s report
does not opine that the Proskauer Rose opinions were legally correct. Rather, Mr. Smith’s report
simply opines that the Proskauer Rose opinions appear to have been prepared based on a certain
standard of care, and are of a threshold quality such that taxpayers such as the Plaintiffs could
reasonably rely on them. Pls.’ Opp’n to Def.’s Smith Mot. at Ex. D p. 1, 7.

        The Court finds that only certain portions of Mr. Smith’s report constitute improper
testimony on a legal issue. While discussing the characteristics of the Proskauer Rose opinions
in a section titled “(2) Relate Law to Facts”, Mr. Smith’s report also analyzes the Internal
Revenue Service’s legal position on the COBRA transactions at issue, finding it to “lack an
objective appearance of reasonableness.” Id. at 9. Despite Mr. Smith’s attempt to disguise his
legal discussion as an objective analysis of the quality of the Proskauer Rose opinions, this
section of Mr. Smith’s report appears to be little more than a legal argument that Plaintiffs’
analysis of the transactions is correct while the Government’s analysis is not. There is a
difference between opining that a legal analysis is thorough-enough to be reasonably relied upon
and opining that the legal analysis is correct while another is incorrect. The former opinion can
be helpful to the court, while the latter is not. In addition, the merit of the Internal Revenue
Service’s subsequent legal position on the COBRA transactions at issue would play no part in a
determination of whether the Proskauer Rose opinions could reasonably have been relied upon
prior to execution of the transactions. Similarly, Mr. Smith provides a discussion of the Eastern
District of Texas’s decision in Klamath Strategic Investment Fund v. United States, which was
issued well after the Proskauer Rose opinions were written. Id. at p. 11 ¶ 1 to p. 12 ¶ 1 (citing
Klamath, 472 F. Supp. 2d 885 (E.D. Tex. 2007)).4 Mr. Smith attempts to use the Klamath
opinion as subsequent corroboration that the analysis contained in the Proskauer Rose opinions
was correct. Id. Neither of these discussions is helpful to the Court.

       The following portions of Mr. Smith’s expert report (and any related testimony by Mr.
Smith) are not helpful to the Court and are excluded:

       - The third full paragraph on page 9 (beginning “By contrast, the contrary conclusion of
       the Service....”); and
       - The second full paragraph on page 10 (beginning “The objective reasonableness of the
       opinions’ conclusion....”) through the first full paragraph on page 12 (beginning “Finally,
       the Klamath Court has recently reaffirmed its ruling....”).



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         Smith also opines on whether legal authority existed for enactment of the temporary
treasury regulation at issue in this case, and the Service’s motivations for enacting the temporary
regulation. Pls.’ Opp’n to Def.’s Smith Mot. Ex. D at p. 10, ¶ 2.

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The balance of Smith’s report merely analyzes whether the Proskauer Rose opinions contain
enough factual information and legal analysis such that a taxpayer could reasonably rely upon it,
and is not excluded. As such, the Government’s Motion to Exclude the Expert Report and
Opinions of Stuart A. Smith is GRANTED IN PART and DENIED IN PART.


                                                    s/ Edward J. Damich
                                                    EDWARD J. DAMICH
                                                    Chief Judge




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